       Case 1:24-cv-00038-DCN        Document 53-1       Filed 01/07/25     Page 1 of 21




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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

  UNION BLOCK ASSOCIATES, LLC, and                Case No. 1:24-CV-00038-DCN
  KENNETH G. HOWELL, an individual,
                                                  MEMORANDUM IN SUPPORT OF
          Plaintiffs,                             DEFENDANTS’ MOTION FOR
                                                  SUMMARY JUDGMENT
  v.

  TIM KEANE, an individual, CARL
  MADSEN, an individual, and the CITY OF
  BOISE, and DOES I through X,

          Defendants.

                                     I. INTRODUCTION

        Plaintiffs have been engaged in a years-long project to excavate and modify the basement

of the 122-year-old Union Block Building (the “Building”) in downtown Boise. Despite Plaintiffs

regular failures to meet their represented deadlines and apparent disorder in the pursuit of the

project, the City was patient and continued to work with them to remodel the historic building.

Beginning in the spring of 2023, however, City officials became increasingly concerned by the

project’s delays, changes of engineers and contractors, use of unlicensed or unregistered

tradespeople, and, significantly, the delay in completion of the permanent supports for the



MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 1.
     Case 1:24-cv-00038-DCN            Document 53-1         Filed 01/07/25      Page 2 of 21




Building. The City began inquiring as to the ongoing sufficiency of the temporary shoring in the

basement from both Plaintiffs and Plaintiffs’ engineer of record, John Leonard. Despite long delays

in providing a sufficient response, the City allowed Plaintiffs to continue the project and maintain

occupancy of the Building. However, the concerns surrounding Plaintiffs’ dilatory conduct and

the Building’s safety came to a head in November 2023.

       In the early morning hours of November 8, 2023, a fire broke out in the building. Due to

apparent sabotage by an unknown person, the Building’s automatic alarm system failed to activate.

Thanks to an observant passerby who reported the fire, Boise firefighters were able to extinguish

the fire. Later that same day, the City received a structural report from Leonard that expressly

disavowed any opinion as to the adequacy of the temporary shoring in the basement. He also noted

that the Building’s façade had separated from the Building. The City therefore inspected the

Building and found a number of alarming defects, including bowing supports. The Building was

plainly no longer safe for its tenants to occupy. Accordingly, on November 9, Defendants Tim

Keane and Carl Madsen made the decision to declare the Building a dangerous building under the

City’s abatement of dangerous building code (“Boise ADB Code”) and ordered it be vacated until

it was properly repaired. Plaintiffs appealed the decision, but failed to participate in their appeal.

As a result, the City Council denied Plaintiffs’ appeal and upheld Keane and Madsen’s

determination. To date, Plaintiffs have yet to complete the required repairs and the Building

remains closed.

       Plaintiffs now wrongly claim under 42 U.S.C. §1983 that Keane and Madsen violated their

substantive due process rights (Claims 1–2), that the City violated their procedural due process

rights (Claims 3–4), and that the City’s temporary closure of the Building constitutes inverse

condemnation (Claims 10–11). They also allege under the Idaho Tort Claims Act (ITCA) that



MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 2.
        Case 1:24-cv-00038-DCN           Document 53-1        Filed 01/07/25      Page 3 of 21




Keane and Madsen tortiously interfered with Plaintiffs’ contractual relations and prospective

economic gain (Claims 5-8), and that Keane defamed Plaintiffs (Claim 9). These claims all fail.

          Simply put, Keane and Madsen are each entitled to qualified immunity. Plaintiff cannot

prevail on the merits of the claims against them and, in any event, the law was not clearly

established at the time such that either of them would have been fairly apprised that their conduct

was allegedly unlawful. They cannot prevail on their inverse condemnation or procedural due

process claims. Further, Plaintiffs failed to comply with their basic notice requirements of the

ITCA, and the Court therefore need not even address the merits of those claims. There are no

material facts in genuine dispute in this case and Defendants are entitled to summary judgment.

                                          II. ARGUMENT

          Defendants are entitled to summary judgment on all of Plaintiffs’ claims. 1 First, Keane and

Madsen are entitled to qualified immunity because they did not violate Plaintiffs’ constitutional

rights and the law was not clearly established that their actions on November 9, 2023 violated any

rights. Second, the Building’s vacation is not an inverse condemnation. Third, the City provided

adequate due process under the Boise ADB Code. Last, Plaintiff’s tort claims must be dismissed

because they failed to provide mandatory pre-lawsuit notice as required by the ITCA. Overall,

Plaintiffs are entitled to no relief and summary judgment should be entered in favor of Defendants.

A.        Tim Keane and Carl Madsen are Entitled to Qualified Immunity.

          Keane and Madsen are entitled to qualified immunity, as they did not violate Plaintiffs’

constitutional rights and Plaintiffs’ rights in this case were not clearly established. Qualified

immunity precludes liability against a government official unless a plaintiff proves “(1) that the

official violated a statutory or constitutional right, and (2) that the right was ‘clearly established’



1
    The summary judgment standard is well-established and therefore is not being repeated here.
MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 3.
      Case 1:24-cv-00038-DCN             Document 53-1         Filed 01/07/25   Page 4 of 21




at the time of the challenged conduct.” Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011) (citation

omitted). As the Supreme Court has repeatedly stated, courts are “not to define clearly established

law at a high level of generality.” City & Cnty. of San Francisco v. Sheehan, 135 S. Ct. 1765, 1766

(2015). The right must instead be clearly established “in a particularized sense so that the contours

of the right are clear to a reasonable official.” Reichle v. Howards, 132 S. Ct. 2088, 2094 (2012).

In other words, existing precedent at the time must “squarely govern[] the specific facts at issue.”

Kisela v. Hughes, 138 S. Ct. 1148, 1153 (2018). The relevant inquiry is whether existing precedent

establishes “beyond debate” that the official “acted unreasonably in these circumstances.”

Mullenix v. Luna, 136 S. Ct. 305, 308–10 (2015).

        Once the defense is raised, the plaintiff bears the burden to show both prongs are satisfied

to defeat qualified immunity. Isayeva v. Sacramento Sheriff’s Dep’t, 872 F.3d 938, 946 (9th Cir.

2017). Significantly, qualified immunity “is an immunity from suit rather than a mere defense to

liability.” Mitchell v. Forsyth, 472 U.S. 511, 527 (1985). Accordingly, the immunity “is effectively

lost if a case is erroneously permitted to go to trial.” Id.

        1.      Keane and Madsen did not violate Plaintiffs’ rights.

        Plaintiffs cannot prevail on their due process claim against Keane and Madsen because

they do not have a protected property right, nor could a reasonable jury conclude Keane and

Madsen’s conduct shocks the conscious.

                a.      Plaintiffs have no protected right to maintain a public nuisance.

        Plaintiffs do not have a property right that may be the subject of a due process claim

because they do not have a right to maintain the Building as a nuisance. A plaintiff asserting the

violation of due process rights “must, as a threshold matter, show a government deprivation of life,

liberty, or property.” Nunez v. City of Los Angeles, 147 F.3d 867, 871 (9th Cir. 1998). Typically,



MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 4.
     Case 1:24-cv-00038-DCN            Document 53-1        Filed 01/07/25      Page 5 of 21




state law provides the source of property rights for constitutional claims. Phillips v. Washington

Legal Foundation, 524 U.S. 156, 164 (1998). However, such rights in the United States come with

“longstanding background restrictions.” Cedar Point Nursery v. Hassid, 594 U.S. 139, 160 (2021).

Indeed, there are a number of pre-existing limitations on a landowner’s title. Id. (citing Lucas v.

South Carolina Coastal Council, 505 U.S. 1003, 1018 (1992)). State law “cannot be the only

source” of such rights, and courts must look to “traditional property law principles” in assessing

the existence of property rights. Tyler v. Hennepin Cnty., 598 U.S. 631, 638 (2023).

       Relevant here, there is no right to engage in a nuisance on one’s property. Cedar Point

Nursery, 594 U.S. at 160. Assuming Plaintiffs have some right to continuous occupancy of the

Building, that right is subject to maintaining it in a nuisance-free manner. Id.; Zeyen v. Bonneville

Joint Dist., #93, 114 F.4th 1129, 1141 (9th Cir. 2024) (property rights in Idaho are subject to

longstanding traditional property law principles). Thus, Plaintiffs’ alleged right to continuously

occupy the Building is subject to the background limitation that they have no right to engage in a

nuisance on the property. Cedar Point Nursery, 594 U.S. at 160; Idaho Code §§ 52-101; 52-102;

Moon v. N. Idaho Farmers Ass’n, 140 Idaho 536, 544 (2004) (the Idaho legislature has the

authority to modify common law rights); Sprenger, Grubb & Assocs., Inc. v. City of Hailey, 127

Idaho 576, 581 (1995) (“a property owner has no vested interest in the highest and best use of his

land, in the solely monetary sense of that term”). Accordingly, Plaintiffs cannot pursue a

substantive due process claim against Keane or Madsen, as they do not have a property interest

that was deprived. Plaintiffs have no right to have the Building occupied while it is a nuisance.

Keane and Madsen are entitled to summary judgment on Plaintiffs’ substantive due process claims.

               b.      Keane and Madsen’s actions were reasonable, and Plaintiffs cannot show
                       their conduct was arbitrary, egregious, unlawful, or an abuse of power.




MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 5.
     Case 1:24-cv-00038-DCN            Document 53-1        Filed 01/07/25      Page 6 of 21




       Issuing the Notice and Order and vacating the Building did not violate Plaintiffs’

substantive due process rights. “The Due Process Clause contains a substantive component that

bars certain arbitrary, wrongful government actions regardless of the fairness of the procedures

used to implement them.” Zinermon v. Burch, 494 U.S. 113, 125 (1990) (cleaned up). Whether

substantive due process is violated turns on the nature of the challenged governmental conduct;

plaintiffs must allege conduct that shocks the conscience and offends the community’s sense of

fair play and decency. Sylvia Landfield Tr. v. City of Los Angeles, 729 F.3d 1189, 1195 (9th Cir.

2013). This requires consideration of the justification the government offers for the alleged

infringement. Reno v. Flores, 507 U.S. 292, 301–02 (1993); MHC Financing Ltd. P’ship v. City

of San Rafael, 714 F.3d 1118 (9th Cir. 2013). Where executive action is at issue, such action must

amount to an “abuse of power” lacking any “reasonable justification in the service of a legitimate

governmental objective.” Shanks v. Dressel, 540 F.3d 1082, 1888 (9th Cir. 2008). Ultimately,

substantive due process secures individuals only from arbitrary government action that rises to the

level of egregious conduct, not from reasonable, though possibly erroneous, actions. Brittain v.

Hansen, 451 F.3d 982 (9th Cir. 2006).

       The Boise ADB Code undoubtedly reflects a legitimate government objective: providing a

process “whereby buildings or structures which, from any cause, endanger the life, limb, health,

property, safety or welfare of the general public or their occupants, may be required to be repaired,

vacated or demolished.” Boise City Code (“BCC”) § 9-11-1. To that end, “[a]ll buildings or portion

thereof which are determined… to be dangerous as defined in this code are hereby declared to be

public nuisances and shall be abated by repair, rehabilitation, demolition or removal.” 1997 ADB

Code, Section 202. Accordingly, when a building has one or more of the conditions or defects set

forth in the code, and that condition endangers life, health, property, or safety of the public, the



MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 6.
     Case 1:24-cv-00038-DCN            Document 53-1        Filed 01/07/25      Page 7 of 21




building is dangerous. 1997 ADB Code, Section 302. In such case, the building official is obligated

to act. 1997 ADB Code, Section 401.1 (“When the building official… has found and determined

that such building is a dangerous building, the building official shall commence proceedings to

cause the repair, vacation or demolition of the building.”) (emphasis added).

       Based on the information then in their possession and their November 8 inspection, Keane

and Madsen identified six different conditions or defects listed in Section 302 were present in the

Building, and that these conditions endangered life, health, property, or safety of the public. (Dkt.

42-4, Ex. F.) These six conditions or defects from Section 302 were:

       5. Whenever any portion or member or appurtenance thereof is likely to fail, or
       become dislodged, or to collapse and thereby injure or damage property.

       7. Whenever any portion thereof has wracked, warped, buckled or settled to such
       an extent that the walls or other structural portions have materially less resistance
       to winds or earthquakes than is required in the case of similar new construction.

       8. Whenever the building or structure, or any portion thereof, because of … (iii) the
       removal, movement or instability of any portion of the ground necessary for the
       purpose of supporting such building; (iv) the deterioration, decay or inadequacy of
       its foundation… is likely to partially or completely collapse. 2

       9. Whenever, for any reason, the building or structure, or any portion thereof, is
       manifestly unsafe for the purpose for which it is being used.

       13. Whenever any building or structure has been constructed, exists or is
       maintained in violation of any specific requirement or prohibition applicable to
       such building or structure provided by the Building Code or Housing Code, or of
       any law or ordinance of this state or jurisdiction relating to the condition, location
       or structure of buildings.

       16. Whenever any building or structure, because of obsolescence, dilapidated
       condition, deterioration, damage, inadequate exits, lack of sufficient fire-resistive
       construction, faulty electric wiring, gas connections or heating apparatus, or other
       cause, is determined by the fire marshal to be a fire hazard.



2
  The language “is likely to partially or completely collapse” from the 1997 ADB Code was
inadvertently omitted from the Notice and Order. Compare Dkt. 42-4, Ex. F with 1997 ADB Code,
Section 302
MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 7.
     Case 1:24-cv-00038-DCN            Document 53-1         Filed 01/07/25       Page 8 of 21




1997 ADB Code, Section 302; (Dkt. 42-4, Ex. F.) In support of this determination, Keane and

Madsen provided Plaintiffs with the Correction Notice, containing the specific issues in need of

correction. (Dkt. 42-4, ¶ 5, Ex. F; see also Dkt. 42-1, ¶ 10.)

       In prior briefing, Plaintiffs spill a significant amount of ink on the phrase “imminent danger

of collapse” and whether the Building met this hypothetical condition. But in so doing, Plaintiffs

ignore the actual grounds for the determination that the Building was dangerous. Indeed, this

phrase appears nowhere in either the Notice and Order or Correction Notice. (See Dkt. 42-4, Ex.

F.) Nor does it appear in either the 1997 ADB Code or the Boise ADB Code. Notably, the

determination that any one of the conditions or defects listed in the Notice and Order existed in

the Building was sufficient to deem it a dangerous building and order it vacated. 1997 ADB Code,

Section 302 (“…any building or structure which has any or all of the conditions or defects…”)

(emphasis added). A building that “does not constitute an immediate danger to the life, limb,

property or safety of the public … may be vacated, secured and maintained against entry.” 1997

ADB Code, Section 403.1.3 (emphasis added). Or, if the building is “immediately dangerous to

the life, limb, property or safety of the public or its occupants, it shall be ordered to be vacated.”

1997 ADB Code, Section 403.2 (emphasis added). Thus, whether the Building was in “imminent

danger of collapse” is immaterial; this is simply not the benchmark by which building closures

under the ADB are evaluated.

       Keane and Madsen’s conduct in reasonably determining the Building was a dangerous

building was in service of public safety. Plaintiffs therefore cannot show that Keane or Madsen’s

actions violated their due process rights. In fact, after months of raising concerns to Plaintiffs over

the state of the structural support of the Building, Plaintiffs’ engineer of record submitted a report

expressly disavowing any opinion on the adequacy or design of the Building’s temporary support.



MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 8.
     Case 1:24-cv-00038-DCN           Document 53-1          Filed 01/07/25   Page 9 of 21




(Dkt. 42-3, Ex. C.) Leonard’s report further stated that “[i]t appears that the stone façade column

has shifted away from the building.” (Id., Ex. C, BOISE 1749.) Based on their concerns, Keane

and Madsen entered the Building to get a firsthand view of the state of the Building and the

temporary supports. (Dkt. 42-4, ¶ 4.) What they found was highly concerning.

       Among other things, they observed the following:

       •   The east foundation wall had been undermined and appeared to be supported by the
           neighboring building;

       •   The Idaho Street stone façade column had shifted away from the Building and was thus
           in danger of falling outward onto the sidewalk and street (which was at that time fully
           open to vehicles and pedestrians);

       •   The alley side stone façade columns had also shifted away from the Building;

       •   Floor joists supporting the first floor lacked support;

       •   Items contained in a prior May 23, 2023 Fire Code Correction Notice remained
           uncorrected;

       •   Temporary shoring beams were bowing under the weight of the Building;

       •   They also discovered that the Building’s fire alarm system appeared to have been
           sabotaged with two screws/nails driven into the system preventing it from activating,
           resulting in the failure of the system during the fire early on November 8th.

(SOF ¶ 16.) The extent of the dangerous conditions present meant that simply requiring Plaintiffs

to install additional temporary shoring would not suffice.

       Each of these conditions and defects alone justified, at a minimum, discretionary vacation

of the Building; altogether, they created an immediate danger to the Building’s tenants, their

employees and customers, and the unsuspecting public traveling along the sidewalk or Idaho




MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 9.
     Case 1:24-cv-00038-DCN           Document 53-1         Filed 01/07/25      Page 10 of 21




Street, requiring immediate action to protect the public. 3 Denying access to the general public and

tenants while allowing continued access to construction and engineering staff was well within

Keane and Madsen’s legal authority under the ADB in order to advance a legitimate government

interest in protecting the public from serious risk of harm or death (concerns that have been greatly

minimized by Plaintiffs in this case). See Flint v. Cnty. of Kauai, 521 F. Supp. 3d 978, 996 (D.

Haw. 2021). No reasonable jury could conclude that their conduct was arbitrary or wrongful.

Simply put, neither Keane nor Madsen violated Plaintiffs’ substantive due process rights.

       3.      The law was not clearly established under the circumstances of this case.

       For the purposes of qualified immunity, the relevant question is whether a reasonable

official in that official’s position could have believed, in light of clearly established legal

principles, that his conduct was lawful. Saucier v. Katz, 533 U.S. 194, 201–02 (2001). Plaintiffs

must therefore direct the Court to precedent “squarely governing the specific facts at issue.” Kisela,

138 S. Ct. at 1153. This must be in the form of “controlling authority” or a “robust consensus of

cases of persuasive authority.” Hart v. City of Redwood City, 99 F.4th 543, 555 (9th Cir. 2024)

(quoting Dist. of Columba v. Wesby, 583 U.S. 48, 64 (2018). Qualified immunity protects “all but

the plainly incompetent or those who knowingly violate the law.” Malley v. Briggs, 475 U.S. 335,

341 (1986).




3
  Leishman’s independent report after the fact was not necessary to close the building, but it
nonetheless supported Keane and Madsen’s decision to do so. For example, Leishman’s
calculations found that the bowing temporary support beams were overloaded by approximately a
factor of three. (Dkt. 42-3, Ex. D, BOISE 1753.) Despite Plaintiffs’ counsel’s contention at oral
argument for their preliminary injunction motion, 14,400 divided by 4,200 is approximately 3.4,
meaning the posts were overloaded by a factor of 3.4x their rated load. (Id.) These calculations are
based on the requirements of the Uniform Building Code, not some hypothetical. (Dkt. 36-4,
65:21–67:1.) Leishman’s report therefore provides after-the-fact context for the level of danger
Keane and Madsen perceived on November 8th, regardless of whether Leishman analyzed the
building under the ADB.
MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 10.
     Case 1:24-cv-00038-DCN           Document 53-1         Filed 01/07/25     Page 11 of 21




        Plaintiffs cannot show any such controlling authority or robust consensus in this case that

would deprive Keane and Madsen of qualified immunity. There simply is no case in which a

building official was liable for violating a building owner’s substantive due process rights for

declaring a building dangerous ordering it temporarily vacated in order to protect the public, when

confronted with bowing temporary support beams, undermined foundations, façade columns

pulling away from a building, detached floor diaphragms, unsupported floor joists, and multiple

fire code violations, as well as a landowner’s own engineer refusing to provide assurances of

structural integrity.

        Because the law was not clearly established on November 9, 2023, such that Keane and

Madsen would have been fairly apprised under the circumstances of this case that their conduct

allegedly violated Plaintiffs’ substantive due process rights, they are entitled to qualified

immunity.

B.      The Vacating of the Building is not an Inverse Condemnation.

        An inverse condemnation action cannot be maintained unless an actual taking of private

property is established. Covington v. Jefferson Cnty., 137 Idaho 777, 780 (2002). But Plaintiffs

have disclaimed a taking claim against the City. 4 (Dkt. 46, p. 2.) In any event, inverse

condemnation claims cannot be asserted when there is no property right and the City’s action was

for the preservation of public health and safety. It therefore does not constitute a taking. Further,

the City’s action does not meet any of the categories of regulatory takings requiring compensation.

Because Plaintiffs cannot show a taking, they cannot prevail on their inverse condemnation claim.

        1.      Plaintiffs do not have a protected property right.


4
  Despite this disclaimer, the First Amended Complaint alleges each of the types of regulatory
takings recognized by the U.S. Supreme Court. (See Dkt. 21, ¶¶ 105–108.) However, as set forth
herein, all of Plaintiffs’ claims in this regard—whether categorized as takings or inverse
condemnation—fail.
MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 11.
     Case 1:24-cv-00038-DCN           Document 53-1         Filed 01/07/25      Page 12 of 21




       There cannot be a taking—and therefore an inverse condemnation—unless a plaintiff

shows a vested property right that was subject to the taking. Zeyen v. Bonneville Joint Dist., #93,

114 F.4th 1129, 1139–41 (9th Cir. 2024). As set forth in Section II.A.1.a., supra, Plaintiffs do not

have a vested property right in maintaining a public nuisance. Accordingly, they cannot establish

an actual taking of private property and therefore no inverse condemnation. Covington, 137 Idaho

at 780. The City is entitled to summary judgment on Plaintiffs’ inverse condemnation claim.

       2.      Because vacating and abating the Building under the Boise ADB Code is a measure
               to preserve the public health and safety, it is not a taking.

       The temporary vacation of the Building was for the preservation of health and safety and

therefore is not a taking. Regulatory action is not a taking where it abates a nuisance on a property:

“Long ago it was recognized that ‘all property in this country is held under the implied obligation

that the owner's use of it shall not be injurious to the community.’” Keystone Bituminous Coal

Ass'n v. DeBenedictis, 480 U.S. 470, 491–92 (1987) (quoting Mugler v. Kansas, 123 U.S. 623, 665

(1887)). The interference with the use of property, even barring its use, “for purposes that are

declared, by valid legislation, to be injurious to the health, morals, or safety of the community,

cannot, in any just sense, be deemed a taking or appropriation of property.” Id. at 489 (quoting

Mugler, 123 U.S. at 668–69)). Therefore, no taking has occurred when the property is determined

to be a nuisance. Cedar Point Nursery, 594 U.S. at 160 (“the government owes a landowner no

compensation for requiring him to abate a nuisance on his property, because he never had a right

to engage in the nuisance in the first place.”); see also Intermountain West, Inc. v. Boise City, 111

Idaho 878, 880 (1986) (stop-work orders and denials of building permits do not amount to a

taking); Covington, 137 Idaho at 781 (inverse condemnation claims require a permanent

deprivation). In such situations, it is therefore unnecessary to analyze any of the regulatory takings

tests. Cedar Point Nursery, 594 U.S. at 160.


MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 12.
     Case 1:24-cv-00038-DCN           Document 53-1         Filed 01/07/25      Page 13 of 21




       The Boise ADB Code governs “buildings endangering life, limb, health, property, safety

or welfare of the general public or their occupants,” BCC § 9-11-2. It therefore provides a method

whereby such buildings “may be required to be repaired, vacated or demolished.” BCC § 9-11-1.

To that end, the Boise ADB Code does not permit a building owner to “erect, construct, enlarge,

alter, repair, move, improve, remove, convert or demolish, equip, use, occupy or maintain any

building or premises, or cause or permit the same to be done, contrary to or in violation of any of

the provisions of the Uniform Code for the Abatement of Dangerous Buildings and the Boise City

Code.” BCC § 9-11-3, Section 203. The code defines a “dangerous building” as one which contains

conditions or defects “to the extent that the life, health, property or safety of the public or its

occupants are endangered.” 1997 ADB Code, Sections 301, 302. These defects are enumerated as

eighteen separate conditions, each of which could render a building dangerous under the code.

1997 ADB Code, Section 302.

       The City’s authority to enact and enforce such a code is expressly granted to it by state law.

Idaho law empowers cities to “declare what shall be deemed nuisances, 5 to prevent, remove and

abate nuisances at the expense of the parties creating, causing, committing or maintaining the

same…” Idaho Code § 50-334. It further provides cities “shall have the power to declare any

building or structure to be a nuisance which, in the opinion of the city council, is so dilapidated or

is in such condition as to menace the public health or the safety of persons or property on account

of increased fire hazard or otherwise…” Idaho Code § 50-335. In doing so, “any council may cause

the destruction or removal of any such building or structure at the expense of the person or persons,



5
 In general, Idaho law defines a nuisance as “[a]nything which is injurious to health or morals,”
and includes public nuisances—affecting “any considerable number of persons.” Idaho Code §§
52-101, 52-102. Activities that create dangerous and hazardous conditions “if not done with
adequate and proper precautions and by proper means and methods” are deemed nuisances.
Lundahl v. City of Idaho Falls, 78 Idaho 338, 346 (1956).
MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 13.
     Case 1:24-cv-00038-DCN          Document 53-1        Filed 01/07/25      Page 14 of 21




associations, corporations or copartnerships holding, owning or maintaining the same…” Id. 6 The

City’s invocation of the Boise ADB Code is therefore an exercise of its police powers to preserve

health and safety and does not constitute a taking. Accordingly, the City determining the Building

was a dangerous building and requiring it be vacated under the Boise ADB Code does not

constitute a taking, and the City is entitled to summary judgment on Plaintiffs’ inverse

condemnation claim.

       3.      The City’s action does not implicate any of the categories of regulatory takings.

       The City’s action does not constitute a regulatory taking. “The paradigmatic taking

requiring just compensation is a direct government appropriation or physical invasion of private

property.” Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 537 (2005). However, regulatory action

can also constitute a taking in particular circumstances. Bridge Aina Le’a, LLC v. Land Use

Comm’n, 950 F.3d 610, 625 (9th Cir. 2020). A Loretto taking occurs “where government requires

an owner to suffer a permanent physical invasion of her property.” Lingle, 544 U.S. at 538 (citing

Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419 (1982)). A Lucas taking occurs

where a regulation “completely deprive[s] an owner of ‘all economically beneficial us[e]’ of her

property.” Id. (quoting Lucas v. South Carolina Coastal Council, 505 U.S. 1003, 1019 (1992))

(emphasis in original). Both Loretto and Lucas takings are per se takings, but are “relatively

narrow.” Id.

       Neither Loretto nor Lucas takings are implicated here. A Loretto taking is not cognizable

where a regulation merely bans certain private uses of a portion of the owner’s property. Tahoe-




6
  The enforcement of building codes and compliance with building standards is of such public
importance that the State requires all cities issuing building permits and enforcing building codes
to adopt specific codes and maintain minimum standards for building construction. Idaho Code §
39-4116(2), (4).
MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 14.
     Case 1:24-cv-00038-DCN           Document 53-1          Filed 01/07/25   Page 15 of 21




Sierra Pres. Council, Inc. v. Taho Reg’l Planning Agency, 535 U.S. 302, 323 (2002) (citing Village

of Euclid v. Ambler Realty Co., 272 U.S. 365 (1926)). Instead, such a Loretto claim requires a

showing that the regulation results in a permanent occupation. Loretto, 458 U.S. at 434. A Lucas

taking requires a deprivation of “all economically beneficial us[e]” of the property. Bridge Aina

Le’a, 950 F.3d at 626. It therefore requires a showing a “complete elimination of a property’s

value.” Id. at 627 (citing Lingle, 544 U.S. at 539). Anything less than a complete elimination of

value requires a Penn Central analysis. Id. Because the vacation of the Building is only temporary

in nature and does not involve any occupation, it cannot constitute a “permanent physical invasion”

or a “complete elimination” of the Building’s value.

       For all other claimed regulatory takings, courts evaluate the regulatory action to determine

whether it is functionally equivalent to a physical invasion using “essentially ad hoc, factual

inquiries, designed to allow careful examination and weighing of all the relevant circumstances.”

Tahoe-Sierra, 535 U.S. at 322. Courts evaluate these claims under the factors set forth in Penn

Central Transp. Co. v. City of New York, 438 U.S. 104 (1978). Penn Central requires a court to

consider: (1) “[t]he economic impact of the regulation on the claimant,” (2) “the extent to which

the regulation has interfered with distinct investment-backed expectations,” and (3) “the character

of the governmental action.” Id. at 124. The consideration of these factors aims “to determine

whether a regulatory action is functionally equivalent to the classic taking.” Guggenheim v. City

of Goleta, 638 F.3d 1111, 1120 (9th Cir. 2010) (en banc) (cleaned up). When viewing these factors,

the City’s action does not constitute a regulatory taking.

       First, any economic impact or diminution in the Building’s valuation would not arise to the

level required for a takings claim. Because “[n]ot every diminution in property value caused by a

government regulation rises to the level of an unconstitutional talking,” courts are hesitant to



MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 15.
     Case 1:24-cv-00038-DCN           Document 53-1        Filed 01/07/25      Page 16 of 21




conclude that diminutions in property value less than 75% can constitute a taking. Colony Cove

Properties, LLC v. City of Carson, 888 F.3d 445, 451 (9th Cir. 2018); MHC Fin. Ltd. v. City of

San Rafael, 714 F.3d 1118, 1127 (9th Cir. 2013). Significantly (despite agreeing to produce

documentation with their initial disclosures), Plaintiffs have yet to produce any documentary

evidence in this case to Defendants, including any estimation or categorization of their claimed

damages. There is thus no evidence of the alleged economic impact or diminution of the value of

the Building, and this factor weighs heavily in favor of the City.

       Second, there is no reasonable expectation by investors that there will be uninterrupted

occupancy of a building that fails to comply with a jurisdiction’s health and safety or building code

requirements. “Unilateral expectation[s]” or “abstract need[s]” cannot form the basis of a claim

that the government has interfered with property rights. Ruckelshaus v. Monsanto Co., 467 U.S.

986, 1005 (1984). The existing regulatory environment is a relevant and important consideration.

Bridge Aina Le’a, 950 F.3d at 634. Thus, an expectation that a property owner could utilize the

property “with absolutely no limitations or restrictions is not reasonable.” Flint v. Cnty. of Kauai,

521 F. Supp. 3d 978, 991 (D. Haw. 2021). And restrictions which are temporary in nature do not

“interfere with the viability of the property as a long term… investment.” Id. (citing Tahoe-Sierra,

535 U.S. at 342). Where, as here, the Boise ADB Code and relevant building codes were long in

place at the time a building owner commences construction, an expectation to retain occupancy

when the building violates those existing codes is unreasonable. Further, the temporary nature of

the vacation of the Building means that it does not interfere with reasonable expectations. Id. The

regulation of the conditions of buildings for the public good “are the burdens we all must bear in

exchange for the advantage of living and doing business in a civilized community.” Ruckelshaus,

467 U.S. at 1007 (cleaned up). Accordingly, the second factor favors the City.



MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 16.
     Case 1:24-cv-00038-DCN           Document 53-1         Filed 01/07/25      Page 17 of 21




       Third, the character of the government action in this case is paramount. Government

regulation “adjusting the benefits and burdens of economic life to promote the common good” are

not takings. Penn Central, 438 U.S. at 124. Thus, regulatory action promoting “the health, safety,

morals, or general welfare” advance a paramount governmental interest. Id. at 125. These actions

need only attempt “to arrest what it perceives to be a significant threat to the common welfare” to

favor a city’s actions. Keystone Bituminous, 480 U.S. at 485. For example, requiring

nonconforming buildings to meet uniform standards is “directed toward protecting the health and

welfare of citizens and visitors.” Hotel & Motel Ass’n of Oakland v. City of Oakland, 344 F.3d

959, 967 (9th Cir. 2003). Such actions are therefore not takings. Id. Nor can the revocation of a

once valid permit—such as an occupancy permit—form the sole basis of a takings claim. Lakeview

Dev. Corp. v. City of South Lake Tahoe, 915 F.2d 1290, 1295 (9th Cir. 1990). Here, the City’s

invocation of the Boise ADB Code squarely focuses on the safety of the general public and

occupants of the Building. It therefore cannot be construed as a taking. The third factor weighs

heavily in favor of the City.

       Because the City’s action does not constitute either a Loretto or Lucas taking, and the Penn

Central factors weigh heavily in favor of the City, the City’s actions do not constitute a regulatory

taking. The City is entitled to summary judgment on Plaintiffs’ inverse condemnation claim. 7

C.     The Boise ADB Code Provides Sufficient Due Process.

       As set forth in Defendants’ Response to Plaintiffs’ Motion for Partial Summary Judgment

(Dkt. 42) and Defendants’ Response to Plaintiffs’ Ex Parte Motion for Expedited Temporary

Restraining Order and Plaintiffs’ Motion for Preliminary Injunction (Dkt. 45), the City’s process




7
 Plaintiffs’ claims for injunctive relief against the City fail for the same reasons. (See Dkt. 21, ¶¶
100–103.)
MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 17.
     Case 1:24-cv-00038-DCN           Document 53-1         Filed 01/07/25      Page 18 of 21




under the Boise ADB Code satisfies due process. Defendants therefore hereby incorporate in full

the arguments set forth in Section III of Dkt. 42 and Section IV.C of Dkt. 45. 8 At oral argument

on these motions, Plaintiffs suggested that the City’s decision to close the Building and deny the

appeal was incorrect which therefore showed a procedural due process violation. But the right to

procedural due process does not encompass the right to a particular outcome. 9 Ching v. Mayorkas,

725 F.3d 1149, 1156 (9th Cir. 2013); see also Foss v. Nat’l Marine Fisheries Serv., 161 F.3d 584,

590 (9th Cir. 1998) (rejecting the argument that because a claimant was denied a permit the

procedure was inherently inadequate). Where due process is provided, it is immaterial whether

Plaintiffs believe the outcome is correct.

       Additionally, a due process claim “must, as a threshold matter, show a government

deprivation of life, liberty, or property.” Nunez, 147 F.3d at 871. As set forth in Section II.A.1.a.,

supra, Plaintiffs do not have a property right in maintaining a public nuisance. They therefore

cannot show that the Boise ADB Code violates their procedural due process rights. Finally, a pre-

deprivation hearing is not required in an emergency. Gilbert v. Homar, 520 U.S. 924, 930 (1997).

Where there is an “important government interest, accompanied by a substantial assurance that the

deprivation is not baseless or unwarranted,” a city is justified in delaying “the opportunity to be

heard until after the deprivation.” FDIC v. Mallen, 486 U.S. 230, 240 (1988). As set forth above,

the City’s significant interest in protecting the unsuspecting public from harm and the actual

conditions and defects observed by Keane and Madsen mean that the denial of pre-deprivation was

appropriate and necessary. Again, the Boise ADB Code therefore does not violate procedural due



8
  Plaintiffs have stubbornly refused to acknowledge that had the appeal been heard by the Building
Code Board of Appeals, it would have followed an identical procedure as was utilized by the City
Council on their appeal. See Boise City Code § 9-1A-39, Sections 113.4 & 113.5.
9
  Indeed, Mathews requires evaluating the risk of an erroneous deprivation, not whether the
deprivation was actually erroneous. Mathews, 424 U.S. at 335.
MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 18.
     Case 1:24-cv-00038-DCN            Document 53-1         Filed 01/07/25       Page 19 of 21




process in providing only a post-deprivation hearing. The City is entitled to summary judgment on

Plaintiffs’ procedural due process claim. 10

D.      Plaintiffs’ State Law Claims are Barred by their Failure to Comply with the Idaho
        Tort Claims Act.

        Plaintiffs allege several tort claims against Keane and Madsen under the ITCA for tortious

interference and defamation. Yet they failed to comply with the plain language of the statute and

did not file their notice of tort claim until the same day they filed the present lawsuit. The state

claims must therefore be dismissed without the need to address their merits.

        Under the ITCA “[n]o claim or action shall be allowed against a governmental entity or its

employee unless the claim has been presented and filed within the time limits prescribed by this

act.” Idaho Code § 6-908. A claim must be filed against a city or its employee within 180 days of

when the claim accrued. Idaho Code § 6-906. Once a claim is filed, the city has 90 days to approve

or deny a claim. Idaho Code § 6-909. If the city takes no action within that time, the claim is

deemed denied. Id.

        A plaintiff may only file a complaint with ITCA claims after the claim is either actually

denied or deemed denied. Idaho Code § 6-910; Community House, Inc. v. City of Boise, No. CV-

05-283-S-BLW, 2008 WL 2857458, at *2 (D. Idaho, July 22, 2008). The notice and subsequent

90-day period before filing a lawsuit serve three important purposes: “(1) [they] save needless

expense and litigation by providing an opportunity for amicable resolution of the differences

between parties, (2) [they] allow authorities to conduct a full investigation into the cause of the

injury in order to determine the extent of the state’s liability, if any, and (3) [they] allow the state

to prepare defenses.” Dodge v. Bonners Ferry Police Dep’t, 165 Idaho 650, 655 (2019).



10
  Plaintiffs’ claims for declaratory and injunctive relief against the City fail for the same reasons.
(See Dkt. 21, ¶¶ 65–70, 100–103.)
MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 19.
     Case 1:24-cv-00038-DCN           Document 53-1         Filed 01/07/25      Page 20 of 21




Accordingly, observing the time limits of ITCA is a prerequisite to bringing a claim under the Act.

Bliss v. Minidoka Irr. Dist., 167 Idaho 141, 152 (2020). “Compliance with [the] notice requirement

is mandatory and failure to observe it results in dismissal of the claim.” Id; see also Allied Bail

Bonds, Inc. v. Cnty. of Kootenai, 151 Idaho 405, 410 (2011) (compliance with notice requirements

of ITCA “is a mandatory condition precedent to bringing suit, the failure of which is fatal to a

claim, no matter how legitimate.”).

       Plaintiffs served their notice of tort claim on the City Clerk on January 22, 2024. (SOF ¶

23.) They filed their original Complaint that same day. (Dkt. 1.) Rather than follow ITCA’s timing

requirements and allowing the City 90 days to either approve or deny the claim, Plaintiffs brought

suit with their ITCA claims at the exact same time. Doing so violates the mandatory notice

requirements of ITCA. 11 Because Plaintiffs failed to comply with the timing requirements of

ITCA, their state law claims must be dismissed.

                                        IV. CONCLUSION

       Each of Plaintiffs’ claims fails as a matter of law. Plaintiffs failed to comply with the Idaho

Tort Claims Act, and their state law claims are therefore barred. Plaintiffs do not possess a property

right to maintain the Building as a nuisance, and they therefore cannot pursue due process or

takings claims. Keane and Madsen did not violate Plaintiffs’ rights and are entitled to qualified

immunity in any event. The City did not engage in a taking, and the Boise ADB Code satisfies due

process. Accordingly, Defendants are entitled to summary judgment on all of Plaintiffs’ claims.

       DATED this 7th day of January, 2025.



11
   To comply with ITCA’s mandatory notice requirements, Plaintiffs were required to have either
waited to file their complaint, or omitted their state law claims from the original complaint and
later amended to add ITCA claims once they were actually or deemed denied. See Farnworth v.
Fleming, 125 Idaho 283, 288–89 (1993); Community House, Inc., 2008 WL 2857458, at *2. It is,
however, too late for them to remedy their failure.
MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 20.
     Case 1:24-cv-00038-DCN            Document 53-1        Filed 01/07/25      Page 21 of 21




                                               NAYLOR & HALES, P.C.


                                               By /s/ Reid K. Peterson
                                                  REID K. PETERSON, Of the Firm
                                                  Attorneys for Defendants Tim Keane, Carl
                                                  Madsen, and City of Boise


                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of January, 2025, I caused to be electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
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MEMORANDUM IN SUPPORT OF DEFENDANTS’ MSJ - 21.
